Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 1 of 25 Page ID
                                 #:1849




                   Exhibit 28
Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 2 of 25 Page ID
                                 #:1850




                                                                        Exhibit 2
                                                                           Page 1
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 3 of 25 Page ID
                                      #:1851



   Ehab M. Samuel (SBN 228296)
 1 esamuel@hdmnlaw.com
   David A. Randall (SBN 156722)
 2 dave@hdmnlaw.com
   Sepehr Daghighian (SBN 239349)
 3 sd@hdmnlaw.com
   HACKLER DAGHIGHIAN MARTINO & NOVAK P.C.
 4 10900 Wilshire Blvd., Suite 300
   Los Angeles, CA 90024
 5 Tel.: (310) 887-1333
   Fax: (310) 887-1334
 6
   Attorneys for Defendant and Counterclaimant,
 7 DBEST PRODUCTS, LLC
 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                  WESTERN DIVISION
11

12 GUANGZHOU YUCHENG                             Case No.: 2:21-cv-04758-JVS-JDE
   TRADING CO., LTD., a foreign
13                                               DEFENDANT DBEST PRODUCTS,
   limited liability company,
                                                 INC’S FIRST AMENDED
14                                               COUNTERCLAIMS
15         Plaintiff / Counterclaim Defendant, Complaint Filed: June 10, 2021
     v.
16

17 DBEST PRODUCTS, INC., a

18 California corporation,

19         Defendant / Counterclaim Plaintiff.

20

21

22
23

24
                                                                                            Exhibit 2
                                                                                               Page 2
                                                               DEFENDANT DBEST PRODUCTS INC’S
25                                                               FIRST AMENDED COUNTERCLAIMS
                                                                      Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 4 of 25 Page ID
                                      #:1852




 1         Counterclaim Plaintiff dbest products, Inc. (“Counterclaim Plaintiff” or

 2   “DPI”) hereby assert counterclaims against Plaintiff/Counterclaim Defendant

 3   Guangzhou Yucheng Trading Co., Ltd. (“Counterclaim Defendant” or

 4   “Guangzhou”) as follows:

 5                                 NATURE OF THE ACTION

 6         1.       This is an action for patent infringement and for a declaratory judgment

 7   of patent infringement against Guangzhou for infringement of U.S. Patent No.

 8   9,233,700 (“the ‘700 Patent), arising under the patent laws of the United States, 35

 9   U.S.C. § 1 et seq. , (ii) trademark infringement under 15 U.S.C. § 1114 of the

10   Lanham Act; (iii) trademark infringement, unfair competition and false designation

11   of origin under 15 U.S.C. § 1125(a) the Lanham Act; (iv) common law trademark

12   infringement and passing off, and under the Declaratory Judgment Act, 28 U.S.C. §

13   2201 et seq.

14                                            PARTIES

15         2.       DPI is a California corporation with a principal place of business at

16   7825 Somerset Blvd., Suite D, Paramount, CA 90723.

17         3.       DPI is a leading innovator and seller of portable carts in the United States.

18   DPI has developed, marketed and sold exclusively a highly successful product line of

19   premium portable carts that are frequently featured on QVC, Inc.’s television

20   infomercials and website.

21         4.       DPI is the owner of a worldwide portfolio of intellectual properties,

22   including utility patents, design patents and trademarks.

23
24
                                                                                                   Exhibit 2
25                                                -1-
                                                                      DEFENDANT DBEST PRODUCTS INC’S
                                                                       FIRST AMENDED COUNTERCLAIMS    Page 3
                                                                             Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 5 of 25 Page ID
                                      #:1853




 1         5.    DPI is the owner of all rights, title, and interest in and to the ‘700 Patent”,

 2   which was issued on January 12, 2016, and entitled “PORTABLE CART WITH

 3   REMOVABLE SHOPPING BAG”. The ‘700 Patent is in full force and effect and has

 4   not expired or lapsed. A true and correct copy of the ‘700 Patent is attached as

 5   Exhibit A hereto.

 6         6.    At all relevant times hereto, DPI has complied with the patent marking

 7   requirements of 35 U.S.C. § 287 by marking products sold under the patent with “US

 8   Patent No. 9,233,700” or other marking identifying the ‘700 Patent. In addition, DPI

 9   complied with the requirements of 35 U.S.C. § 287 by giving Guangzhou actual notice

10   of infringement on or about November 14, 2019.

11         7.    Since at least as early as June 15, 2014, DPI began marketing and selling

12   its patented portable carts or hand trucks bearing the TROLLEY DOLLY trademark

13   in United States commerce. DPI has used, throughout the United States, the

14   TROLLEY DOLLY trademark on a regular and continuous basis in connection with

15   portable carts or hand trucks with removable fabric container.

16         8.    In addition to its common law trademark rights throughout the United

17   States, DPI is the owner of all right, title, and interest in and to the word mark

18   TROLLEY DOLLY®, U.S. Trademark Reg. No. 5,348,107, filed on July 6, 2017, and

19   registered on November 28, 2017, and U.S. Trademark Reg. No. 6,248,551, filed on

20   November 25, 2019, and registered on January 19, 2021.

21         9.    By virtue of its extended use in commerce, DPI’s U.S. Trademark Reg.

22   No. 5,348,107 has become incontestable.

23
24
                                                                                                 Exhibit 2
25                                              -2-
                                                                    DEFENDANT DBEST PRODUCTS INC’S
                                                                     FIRST AMENDED COUNTERCLAIMS    Page
                                                                           Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 6 of 25 Page ID
                                      #:1854




 1         10.    On information and belief, Plaintiff/Counterclaim Defendant

 2   Guangzhou Yucheng Trading Co., Ltd. is a company organized and existing under

 3   the laws of China with its principal place of business at (Part: A252) Second Floor,

 4   No. 57, Huangcun Road, Tianhe District, Guangzhou Guangdong Province, P.R.

 5   China.

 6         11.    As stated in Guangzhou’s complaint (Dkt. 1) at para. 2, Guangzhou

 7   does business as “Winkeep” and uses the “Winkeep” name in connection with the

 8   sale of a variety of products online, including utility carts, storage carts and

 9   shopping carts.

10         12.    On information and belief, Guangzhou offers and sells products,

11   including those accused herein of infringement, to customers and/or potential

12   customers located in California and in this District, as well as elsewhere in the

13   United States.

14                              JURISDICTION AND VENUE

15         13.    DPI brings this action for patent infringement against Guangzhou under

16   the patent laws of the United States, 35 U.S.C. § 271 et seq., and under the Lanham

17   Act, 15 U.S.C. § 1051, et seq., including 15 U.S.C. §§ 1114, 1115 and 1125, and for

18   common law trademark infringement under the laws of the State of California.

19         14.    Subject to the affirmative defenses and denials set forth above, this

20   Court has subject matter jurisdiction over this action pursuant to the provisions of 28

21   U.S.C. §§ 1331, 1332, 1338(a), as well as 15 U.S.C. § 1121.

22         15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391,

23   1400(b) because, on information and belief, acts of patent and trademark

24
                                                                                                 Exhibit 2
25                                               -3-
                                                                    DEFENDANT DBEST PRODUCTS INC’S
                                                                     FIRST AMENDED COUNTERCLAIMS    Page
                                                                           Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 7 of 25 Page ID
                                      #:1855




 1   infringement, as well as unfair competition, have been committed in this District,

 2   and because Guangzhou is subject to personal jurisdiction in this District.

 3         16.    This Court has personal jurisdiction over Guangzhou because it filed

 4   this action for declaratory judgment, and has thus, submitted to this Court’s personal

 5   jurisdiction. On information and belief, Counterclaim Defendant Guangzhou has

 6   also committed acts of infringement in this District, and/or has purposely transacted

 7   business involving the accused products in this District, including sales to one or

 8   more customers in California and in this District.

 9                                 ACCUSED PRODUCTS

10         17.    On information and belief, Guangzhou made, used, sold, offered for sale,

11   and/or imported into the United States the following products (“Accused Products”):

12                a.    Shopping Cart, Super Loading Stair Climber Cart 220 lbs

13   Capacity Grocery Foldable Cart with Extra Large Shopping Bag Laundry Cart with

14   Adjustable Bungee Cord, as depicted below (e.g., Amazon ASIN #: B07B4XSW9L;

15   Walmart UPC # 294582309, 783651864):

16

17

18

19

20

21

22

23
24
                                                                                               Exhibit 2
25                                              -4-
                                                                  DEFENDANT DBEST PRODUCTS INC’S
                                                                   FIRST AMENDED COUNTERCLAIMS    Page
                                                                         Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 8 of 25 Page ID
                                      #:1856




 1              b.    Shopping Cart, Super Loading Grocery Cart 220 lbs Capacity

 2   Grocery Shopping Foldable Cart with Extra Large Black Shopping Bag Portable

 3   Grocery Cart with Bungee Cord, as depicted below (e.g., Amazon ASIN #:

 4   B08CX9VXPT; Walmart UPC # 396176936, 689381433, 350503084, 894667964)

 5

 6

 7

 8

 9

10

11

12              c.    Shopping Cart, Heavy Duty Stair Cart 220 lbs Capacity Grocery

13   Cart with Large Shopping Bag Folding Shopping Cart with Adjustable Bungee

14   Cord, as depicted below (e.g., Amazon ASIN #: B07B4XSW9L; Walmart UPC #

15   294582309, 383685556, 953630218, 455022324, 411183011, 400688021):

16

17

18

19

20

21

22

23
24
                                                                                         Exhibit 2
25                                          -5-
                                                            DEFENDANT DBEST PRODUCTS INC’S
                                                             FIRST AMENDED COUNTERCLAIMS    Page
                                                                   Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 9 of 25 Page ID
                                      #:1857




 1         18.   Upon information and belief, the Accused Products are promoted in the

 2   same marketing channels as DPI’s products. For example, the Accused Products are

 3   offered for sale directly from the Amazon.com and Walmart.com website, from which

 4   a customer may purchase products that are shipped to the customer anywhere in the

 5   United States.

 6     INTENTIONAL AND WILLFUL INFRINGEMENT OF THE TROLLEY

 7                               DOLLY® TRADEMARK

 8         19.   On or about June 2018, DPI submitted a complaint of trademark

 9   infringement with Amazon (Complaint ID: 5167373501) in connection with

10   Guangzhou’s use of the TROLLEY DOLLY mark in connection with the Accused

11   Product (ASIN # B07B4XSW9L).

12         20.   On or about June 27, 2018, Guangzhou sent an email to DPI,

13   acknowledging the notification of trademark infringement, recognizing that the

14   “Trolley Dolly [mark] was registered by dbest products”, and apologizing for its

15   conduct.

16         21.   On or about February 15, 2022, DPI learned that the Accused Products

17   are sold under the Winkeep brand on Walmart.com. See Exhibit C.

18         22.   Notwithstanding the notice of infringement and DPI’s rights to the

19   TROLLEY DOLLY mark, on information and belief, Guangzhou again

20   impermissibly uses, directly or indirectly, the Trolley Dolly® trademark.

21         23.   For example, as shown below, the Accused Product sold under

22   Guangzhou’s Winkeep brand incorporates the Trolley Dolly trademark in the name:

23   “Shopping Cart for Groceries, Super Loading 220 lbs Capacity Stair Climber Folding

24
                                                                                             Exhibit 2
25                                            -6-
                                                                DEFENDANT DBEST PRODUCTS INC’S
                                                                 FIRST AMENDED COUNTERCLAIMS    Page
                                                                       Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 10 of 25 Page ID
                                       #:1858




 1   Shopping Carts with Shopping Bag, Foldable Groceries Trolley Dolly Carts with

 2   Adjustable Bungee Cord for Seniors.”

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15         24.    Similarly, another Accused Product sold under Guangzhou’s Winkeep

16   brand incorporates the Trolley Dolly trademark in the name: “Winkeep Shopping

17   Trolley Dolly Cart, Folding Shopping Cart 220 lbs Capacity with Adjustable Bungee

18   Cord.”

19

20

21

22

23
24
                                                                                          Exhibit 2
25                                          -7-
                                                             DEFENDANT DBEST PRODUCTS INC’S
                                                              FIRST AMENDED COUNTERCLAIMS    Page
                                                                    Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 11 of 25 Page ID
                                       #:1859




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15         25.   On information and belief, Guangzhou operates under multiple fictitious

16   storefront names, often using the same product images of the Accused Products,

17   marketing materials, and advertising tactics and/or supplies others with infringing

18   carts and marketing materials and induces them to market the infringing products.

19         26.   For example, Guangzhou produced the following marketing materials in

20   response to DPI’s requests for document production:

21

22

23
24
                                                                                             Exhibit 2
25                                            -8-
                                                                DEFENDANT DBEST PRODUCTS INC’S
                                                                 FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                       Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 12 of 25 Page ID
                                       #:1860




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
24
                                                                                        Exhibit 2
25                                         -9-
                                                           DEFENDANT DBEST PRODUCTS INC’S
                                                            FIRST AMENDED COUNTERCLAIMS   Page 11
                                                                  Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 13 of 25 Page ID
                                       #:1861




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
24
                                                                                        Exhibit 2
25                                         -10-
                                                           DEFENDANT DBEST PRODUCTS INC’S
                                                            FIRST AMENDED COUNTERCLAIMS   Page 12
                                                                  Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 14 of 25 Page ID
                                       #:1862




 1         27.   The identical marketing materials are used on Walmart.com as illustrated

 2   below:

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
24
                                                                                            Exhibit 2
25                                           -11-
                                                               DEFENDANT DBEST PRODUCTS INC’S
                                                                FIRST AMENDED COUNTERCLAIMS   Page 13
                                                                      Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 15 of 25 Page ID
                                       #:1863




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
24
                                                                                        Exhibit 2
25                                         -12-
                                                           DEFENDANT DBEST PRODUCTS INC’S
                                                            FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                  Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 16 of 25 Page ID
                                       #:1864




 1         28.    Infringers such as Guangzhou typically operate under multiple seller

 2   storefront and payment accounts so that they can continue operation in spite of DPI’s

 3   enforcement efforts.

 4         29.    On information and belief, Guangzhou is selling, directly or indirectly,

 5   its Accused Products under the fictitious storefront names ROYI, WINIBEST,

 6   WILBEST, LENBEST, BOVN, FLYFUN, TEEHON, WALM-EWAVINC and

 7   TOMSER.

 8         30.    DPI has spent substantial amount of time and money building up,

 9   advertising, and promoting its TROLLEY DOLLY brand and goodwill.

10         31.    Guangzhou is attempting to usurp and misappropriate DPI’s reputation

11   and goodwill in the TROLLEY DOLLY mark for Guangzhou’s own pecuniary gain.

12   And in the process, Guangzhou infringes DPI’s TROLLEY DOLLY mark.

13                          COUNT I – PATENT INFRINGEMENT

14           (Direct Infringement of the ‘700 patent – 35 U.S.C. §§ 271 et seq.)

15         32.    DPI re-alleges and incorporate by reference Paragraphs 1 to 31 as if fully

16   set forth herein.

17         33.    Guangzhou has been and is directly or indirectly infringing the ’700

18   Patent by making, using, offering for sale, selling, and/or otherwise distributing the

19   Accused Products, that infringe at least claim 3 of the ’700 Patent in violation of 35

20   U.S.C. § 271. As one example, the Shopping Cart, Super Loading Stair Climber meets

21   each element of at least claim 3, literally and/or under the doctrine of equivalents, as

22   set forth in the attached chart. See Exhibit B.

23
24
                                                                                               Exhibit 2
25                                             -13-
                                                                  DEFENDANT DBEST PRODUCTS INC’S
                                                                   FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                         Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 17 of 25 Page ID
                                       #:1865




 1         34.    Guangzhou’s      infringement,      contributory      infringement            and/or

 2   inducement to infringe, has been deliberate, willful, intentional, as Guangzhou

 3   engaged in these wrongful acts with full knowledge of the existence of the ’700 Patent

 4   and with full knowledge that its activities were an infringement of the ’700 Patent.

 5         35.    In particular, DPI provided actual notice of the infringement to

 6   Guangzhou, but Guangzhou refused to cease its infringing activity.

 7         36.    Guangzhou’s      infringement,      contributory      infringement            and/or

 8   inducement to infringe, has injured or will injure DPI, and DPI is entitled to recover

 9   damages adequate to compensate it for Guangzhou’s infringement, contributory

10   infringement and/or inducement to infringe.

11         37.    Because Guangzhou’s infringement, contributory infringement and/or

12   inducement to infringe, has caused or will cause DPI substantial damage and

13   irreparable injury by its infringement of the ’700 Patent, DPI will continue to suffer

14   damage and irreparable injury unless and until Guangzhou is enjoined by this Court

15   from continuing its infringement.

16         38.    DPI is entitled to injunctive relief and compensatory relief, including

17   attorneys’ fees and costs, as well as enhanced damages pursuant to 35 U.S.C. §§ 271,

18   281, and 283 to 285.

19               COUNT II – FEDERAL TRADEMARK INFRINGEMENT

20                                UNDER 15 U.S.C. § 1114

21         39.    DPI re-alleges and incorporate by reference Paragraphs 1 to 38 as if fully

22   set forth herein.

23
24
                                                                                                  Exhibit 2
25                                             -14-
                                                                     DEFENDANT DBEST PRODUCTS INC’S
                                                                      FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                            Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 18 of 25 Page ID
                                       #:1866




 1           40.   DPI owns U.S. Trademark Reg. No. 5,602,058, filed on July 6, 2017, and

 2   registered on November 28, 2017, and U.S. Trademark Reg. No. 6,248,551, filed on

 3   November 25, 2019, and registered on January 19, 2021, for the TROLLEY DOLLY

 4   mark.

 5           41.   Guangzhou has directly or indirectly engaged in, and continues to engage

 6   in, the unauthorized use of DPI’s TROLLEY DOLLY mark, such that the use thereof

 7   is likely to cause confusion, mistake and/or deception as to the source of origin,

 8   sponsorship, and/or association of Guangzhou’s goods, and will injure and damage

 9   DPI and the goodwill and reputation symbolized by TROLLEY DOLLY mark.

10           42.   Guangzhou is not affiliated with, connected with, endorsed by, or

11   sponsored by DPI, nor has DPI approved or authorized any of the goods offered or

12   sold by Guangzhou.

13           43.   None of Guangzhou’s activities complained in this pleading has been

14   authorized by DPI, and such unauthorized use, which substantially affects interstate

15   commerce in this District, and elsewhere throughout the United States, constitutes

16   trademark infringement under 15 U.S.C. § 1114.

17           44.   Upon information and belief, such use of the TROLLEY DOLLY mark

18   is knowing and willful, and with the intent to cause confusion, deceive consumers,

19   and trade off the goodwill established by DPI in its TROLLEY DOLLY mark, all for

20   Guangzhou’s own pecuniary gain.

21           45.   Unless the Court permanently enjoins Guangzhou’s trademark

22   infringement, contributory infringement and/or inducement to infringe, DPI’s

23
24
                                                                                              Exhibit 2
25                                             -15-
                                                                 DEFENDANT DBEST PRODUCTS INC’S
                                                                  FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                        Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 19 of 25 Page ID
                                       #:1867




 1   business, goodwill, and reputation will suffer irreparable harm for which there is no

 2   adequate remedy at law. Therefore, DPI is entitled to injunctive relief.

 3         46.    There is a significant public interest in granting injunctive relief to avoid,

 4   among other things, public and consumer confusion of the quality and source of a

 5   product.

 6         47.    In addition to being entitled to injunctive relief, by reason of the

 7   foregoing, DPI is entitled to recover any damages proven, after trial, to have been

 8   caused by reason of Guangzhou’s aforesaid acts of trademark infringement,

 9   contributory infringement and/or inducement to infringe, together with all other

10   remedies available under the Lanham Act, including, but not limited to disgorgement

11   of Guangzhou’s profits and the costs of this action.

12         48.    Guangzhou’s above-mentioned acts and conduct were, and are, being

13   done in an intentional, willful, malicious, and oppressive manner in conscious

14   disregard of DPI’s rights making this an exceptional case under 15 U.S.C. § 1117(a).

15   DPI is therefore entitled to an award of treble damages and/or a trebling of DPI’s

16   profits, as well as reimbursement of its attorney’s fees.

17      COUNT II – UNFAIR COMPETITION AND FALSE DESIGNATION OF

18                          ORIGIN UNDER 15 U.S.C. § 1125(A)

19         49.    DPI re-alleges and incorporate by reference Paragraphs 1 to 48 as if fully

20   set forth herein.

21         50.    Guangzhou’s unauthorized use in commerce of words, terms, names,

22   symbols, or devices, or any combination thereof, consisting of or including the

23   TROLLEY DOLLY MARK, or false designation of origin or false or misleading

24
                                                                                                 Exhibit 2
25                                              -16-
                                                                    DEFENDANT DBEST PRODUCTS INC’S
                                                                     FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                           Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 20 of 25 Page ID
                                       #:1868




 1   description or representation of fact, is likely to cause confusion, or to cause mistake,

 2   or to deceive as to the affiliation, connection, or association of Guangzhou with DPI.

 3         51.    Guangzhou’s unauthorized use of the TROLLEY DOLLY mark is likely

 4   to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection,

 5   or association of Guangzhou with DPI, or as to the origin, sponsorship, or approval of

 6   Guangzhou’s goods or commercial activities by DPI.

 7         52.    Guangzhou is not affiliated with, connected with, endorsed by, or

 8   sponsored by DPI, nor has DPI approved or authorized any of the goods offered or

 9   sold by Guangzhou.

10         53.    DPI has no control over the nature and quality of the goods and services

11   offered and sold by Guangzhou. Any failure, neglect, or default by Guangzhou in

12   providing such products will reflect adversely on DPI as being the believed source of

13   such failure, neglect, or default, thereby hampering DPI’s efforts to continue to protect

14   its reputation and preventing DPI from further building its reputation. Such failure,

15   neglect, or default will result in loss of revenue by DPI, and loss of value of DPI’s

16   considerable expenditures to promote its goods and services under its federal and

17   common law rights in the TROLLEY DOLLY trademark, all of which have caused,

18   and will continue to cause irreparable harm to DPI.

19         54.    None of Guangzhou’s activities complained of herein has been

20   authorized by DPI, and such unauthorized use, which substantially affects interstate

21   commerce in this District, and elsewhere throughout the United States, constitutes a

22   violation 15 U.S.C. § 1125(a).

23
24
                                                                                                Exhibit 2
25                                              -17-
                                                                   DEFENDANT DBEST PRODUCTS INC’S
                                                                    FIRST AMENDED COUNTERCLAIMS   Page 1
                                                                          Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 21 of 25 Page ID
                                       #:1869




 1         55.    Unless the Court permanently enjoins Guangzhou’s conduct alleged

 2   herein, DPI’s business, goodwill, and reputation will suffer irreparable harm for which

 3   there is no adequate remedy at law. Therefore, DPI is entitled to injunctive relief.

 4         56.    In addition to being entitled to injunctive relief, by reason of the

 5   foregoing, DPI is entitled to recover any damages proven, after trial, to have been

 6   caused by reason of Guangzhou’s aforesaid acts of trademark infringement,

 7   contributory infringement and/or inducement to infringe, together with all other

 8   remedies available under the Lanham Act, including, but not limited to disgorgement

 9   of Guangzhou’s profits and the costs of this action.

10         57.    Guangzhou’s above-mentioned acts and conduct were, and are, being

11   done in an intentional, willful, malicious, and oppressive manner in conscious

12   disregard of DPI’s rights making this an exceptional case under 15 U.S.C. § 1117(a).

13   DPI is therefore entitled to an award of treble damages and/or a trebling of

14   Guangzhou’s profits, as well as reimbursement of its attorney’s fees.

15

16       COUNT III – COMMON LAW TRADEMARK INFRINGEMENT AND

17                                      PASSING OFF

18         58.    DPI re-alleges and incorporate by reference Paragraphs 1 to 57 as if fully

19   set forth herein.

20         59.    DPI first adopted and used the TROLLEY DOLLY mark in connection

21   with portable hand trucks, as a means of establishing goodwill and reputation and to

22   describe, identify, or denominate particular goods sold by it and to distinguish them

23   from competing goods marketed by others.

24
                                                                                               Exhibit 2
25                                             -18-
                                                                  DEFENDANT DBEST PRODUCTS INC’S
                                                                   FIRST AMENDED COUNTERCLAIMS   Page 2
                                                                         Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 22 of 25 Page ID
                                       #:1870




 1         78.     Through its association with such portable hand trucks, the TROLLEY

 2   DOLLY mark has acquired a special significance as the name of the goods marketed

 3   by DPI for portable hand trucks because DPI’s TROLLEY DOLLY mark is

 4   inherently distinctive.

 5         79.     Guangzhou has directly or indirectly commenced the use of the

 6   identical TROLLEY DOLLY mark to indicate or identify similar goods (portable

 7   hand trucks) that are marketed by it in competition with DPI in the same industry in

 8   which DPI has already established its TROLLEY DOLLY mark.

 9         80.     As a consequence of Guangzhou’s infringement, contributory

10   infringement and/or inducement to infringe, consumer confusion of source or as to

11   the sponsorship of the prescription drugs offered, or to be offered, by Guangzhou is

12   likely or inevitable.

13         81.     Guangzhou’s infringement, contributory infringement and/or

14   inducement to infringe, as described above, constitutes common law trademark

15   infringement and passing off in violation of the common law of the State of

16   California.

17         82.     DPI does not have an adequate remedy at law and will continue to be

18   damaged by Guangzhou’s actions unless this Court enjoins Guangzhou from such

19   conduct.

20                                 PRAYER FOR RELIEF

21         WHEREFORE, DPI prays that the Court enter judgment in its favor and

22   award the following relief against Guangzhou:

23
24
                                                                                              Exhibit 2
25                                            -19-
                                                                 DEFENDANT DBEST PRODUCTS INC’S
                                                                  FIRST AMENDED COUNTERCLAIMS   Page 21
                                                                        Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 23 of 25 Page ID
                                       #:1871




 1         A.     That Guangzhou’s Complaint is dismissed in its entirety, with

 2   prejudice, and that Guangzhou takes nothing thereby;

 3         B.     That Guangzhou has failed to state a claim upon which relief may be

 4   granted;

 5         C.     That the Court find Guangzhou has infringed at least claim 3 of the

 6   ‘700 Patent under 35 U.S.C. §§ 271, et seq.;

 7         D.     That this case be declared exceptional and that Guangzhou be ordered

 8   to pay DPI its reasonable attorneys’ fees and costs, pursuant to 35 U.S.C. §285;

 9         E.     That the Court awards DPI actual and compensatory damages,

10   including but not limited to lost profits and attorneys’ fees, trebled as provided by

11   law, plus interest;

12         F.     That the Court award DPI damages in an amount to compensate DPI for

13   Guangzhou’s patent infringement pursuant to 35 U.S.C. §284;

14         G.     That the Court find that Guangzhou’s patent infringement has been

15   willful, and award treble damages pursuant to 35 U.S.C. §285;

16         H.     That Counterclaim Defendant/Plaintiff, and its officers, agents,

17   employees, and all others in active concert or participation with Counterclaim

18   Defendant/Plaintiff or any of them, are permanently enjoined from further infringing

19   the ‘700 Patent;

20         I.     That the Court adjudge and decree that Guangzhou has infringed DPI’s

21   TROLLEY DOLLY trademark willfully and intentionally;

22         J.     That the Court adjudge and decree that Guangzhou has falsely

23   designated the origin of certain goods as those of DPI, has made and used false

24
                                                                                                Exhibit 2
25                                             -20-
                                                                   DEFENDANT DBEST PRODUCTS INC’S
                                                                    FIRST AMENDED COUNTERCLAIMS   Page 22
                                                                          Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 24 of 25 Page ID
                                       #:1872




 1   representations in connection with the sale, offering for sale, promotion and

 2   advertising of such goods, and has unfairly competed with DPI;

 3         K.      That the Court permanent enjoin Guangzhou, its agents, servants,

 4   employees, attorneys, and all persons acting in concert or participation with them, or

 5   with any of them from:

 6         a. Using TROLLEY DOLLY, or any other word or words which are identical

 7              and/or confusingly similar to DPI’s TROLLEY DOLLY mark, either

 8              alone, as part of, or together with, any other word or words, trademark,

 9              service mark, trade name, domain name or other business or commercial

10              designation in connection with the sale, offering for portable hand trucks

11              with removable fabric container.

12         b. Selling, offering to sell, marketing, distributing, advertising and/or

13              promoting any carts or portable hand trucks with the word TROLLEY

14              DOLLY displayed on such product, packaging, advertising or promotional

15              materials;

16         c. Otherwise infringing the TROLLEY DOLLY mark; and

17         d. Engaging in actions that constitute unfair competition and/or false

18              designation of origin.

19         L.      That the Court issue an order requiring Guangzhou to account for all

20   gains, profits, and advantages derived from its acts of trademark infringement and

21   unfair competition.

22         M.      That the Court award DPI: (i) all of Guangzhou’s profits, gains, and

23   advantages derived from the unauthorized use of the TROLLEY DOLLY mark or

24
                                                                                               Exhibit 2
25                                              -21-
                                                                  DEFENDANT DBEST PRODUCTS INC’S
                                                                   FIRST AMENDED COUNTERCLAIMS   Page 23
                                                                         Case No. 2:21-cv-04758-JVS-JDE
     Case 2:21-cv-04758-JVS-JDE Document 38-3 Filed 03/24/22 Page 25 of 25 Page ID
                                       #:1873




 1   any confusingly similar mark, and that such sums be trebled; (ii) all damages

 2   sustained by DPI by reason of Guangzhou’s acts of trademark infringement and

 3   unfair competition, including amounts necessary for prospective corrective

 4   advertising, and that such damages be trebled; (iii) exemplary and punitive damages

 5   as the court finds appropriate to deter any future willful conduct; and (iv) interest,

 6   including prejudgment interest, on the foregoing sums.

 7          N.    That the Court issue an order declaring this case exceptional under 15

 8   U.S.C. § 1117(a).

 9          O.    That Counterclaimant/Defendant have trial by jury on all issues so

10   triable;

11          P.    That the Court award Counterclaimant/Defendant such other legal and

12   equitable relief as the Court deem just and proper.

13                              REQUEST FOR JURY TRIAL
14          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendant and
15   Counterclaimant demands a trial by jury of all issues and claims which are so triable.
16
      DATED: March __, 2022                      HACKLER DAGHIGHIAN MARTINO &
17                                               NOVAK, P.C.

18                                               By: /s/ Ehab M. Samuel
                                                 Ehab M. Samuel (CA SBN 228296)
19
                                                 David A. Randall (CA SBN 156722)
20

21                                               Attorneys for Defendant and
                                                 Counterclaimant
22                                               DBEST PRODUCTS LLC
23
24
                                                                                                Exhibit 2
25                                              -22-
                                                                   DEFENDANT DBEST PRODUCTS INC’S
                                                                    FIRST AMENDED COUNTERCLAIMS   Page 2
                                                                          Case No. 2:21-cv-04758-JVS-JDE
